   Case 6:21-cv-01100-EFM   Document 218-11   Filed 10/20/23    Page 1 of 4




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                     WICHITA 000050
   Case 6:21-cv-01100-EFM   Document 218-11   Filed 10/20/23    Page 2 of 4




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                     WICHITA 000051
  Case 6:21-cv-01100-EFM   Document 218-11   Filed 10/20/23    Page 3 of 4




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                    WICHITA 000052
  Case 6:21-cv-01100-EFM   Document 218-11   Filed 10/20/23    Page 4 of 4




CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                    WICHITA 000053
